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FACTSABOUTYALE.COM
NEW YORK    NEW HAVEN     LONG BEACH     MILFORD             Jakub J. Madej
___________________________________________________          LAWSHEET
                                                             415 Boston Post Rd Ste 3-1102
                                                             Milford, CT 06460
                                                             T: (203) 928-8486
                                                             j.madej@lawsheet.com



VIA EMAIL                                                    November 30, 2020
Patrick M. Noonan, Esq.
DONAHUE, DURHAM & NOONAN PC
741 Boston Post Road, Suite 306
Guilford, CT 06437
Email: PNoonan@ddnctlaw.com
Telephone: (203) 458-9168


        RE:    Rule 30(b)(6) Deposition of Mark Schenker
               Madej v. Yale University et al., Case No. 3:20-cv-00133-JCH (D. Conn.)

Dear Counsel:

       I am writing to finalize the logistics of Mark Schenker’s deposition. As
indicated in the attached notice, the deposition is currently noticed for December 14,
2020 (Monday) at 9:00 am, to be held over the Zoom platform. Details will follow.

       If Mr. Schenker is not available on December 14, please respond with three
dates that are open for the deponent on December 13 or earlier. The deposition will
concern matters involving Mr. Schenker’s November 16, 2020 production of
documents. I reserve the right to file a motion to compel production based on Mr.
Schenker’s testimony.

      Once we agree on the time and location, I will send you an amended notice of
deposition. The discovery cut-off date has technically passed, and it is paramount tha
we proceed with discovery swiftly to avoid unnecessary delays.

      If you have any questions regarding this timeline, please feel free to contact
the undersigned at your convenience.
                                           Sincerely,


                                                 ___________________________

cc:    --
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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT


 JAKUB MADEJ,
      Plaintiff,                                             Civil Action No.
                                                             3:20-cv-00133 (JCH)
          v.
                                                             JURY TRIAL DEMANDED
 YALE UNIVERSITY et al.
                                                             NOVEMBER 30, 2020
      Defendants.


               NOTICE OF VIDEOTAPED DEPOSITION OF MARK SCHENKER

         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

         PLEASE TAKE NOTICE that, pursuant to Rule 30 of the Federal Rules of Civil
Procedure, Plaintiff Jakub Madej (“Madej”) will take the deposition of defendant Mark Schenker
(“Schenker”) on December 14 at 9:00 am over the Zoom platform, or at a time and place
mutually agreeable to the parties, before an officer duly authorized by law to administer oaths.
You are invited to attend and cross-examine. Pursuant to Rule 30(b)(3) of the Federal Rules of
Civil Procedure, Plaintiff reserves the right to record the deposition testimony by videotape and
instant visual display. Plaintiff reserves the right to use the videotape deposition at the time of
trial.



 Dated: November 30, 2020                          Respectfully submitted,
                                                   By: /s/ Jakub Madej
                                                      Jakub J. Madej
                                                       LAWSHEET
                                                      415 Boston Post Rd Ste 3-1102
                                                      Milford, CT 06460
                                                      T: (203) 928-8486
                                                      F: (203) 902-0070
                                                      E: j.madej@lawsheet.com
        Case 3:20-cv-00133-JCH Document 202-1 Filed 12/11/20 Page 3 of 3




                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT


 JAKUB MADEJ,
      Plaintiff,                                          Civil Action No.
                                                          3:20-cv-00133 (JCH)
        v.
                                                          JURY TRIAL DEMANDED
 YALE UNIVERSITY et al.
                                                          NOVEMBER 30, 2020
      Defendants.


                                CERTIFICATE OF SERVICE
       I, Jakub Madej, hereby certify that on November 30, 2020, I sent a true copy of the
foregoing Notice of Videotaped Deposition of Mark Schenker with all attachments and exhibits via
electronic mail to the following attorneys of record:

       Patrick M. Noonan, Esq.
       DONAHUE, DURHAM & NOONAN PC
       741 Boston Post Road, Suite 306
       Guilford, CT 06437
       Telephone: (203) 458-9168
       Fax: (203) 458-4424
       Email: PNoonan@ddnctlaw.com

       I further certify that the Notice of Videotaped Deposition of Mark Schenker was uploaded
to the file sharing platform ShareFile, created by the defendants following the Court’s order
dated October 26, 2020.

                                                            /s/ Jakub Madej
